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                             UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


Max Geller                                          *
Plaintiff                                           *
                                                    *         Civil Action No.
Versus                                              *
                                                    *
City of Baton Rouge                                 *
Carl Dabadie, Jr., Chief of Police, Baton Rouge, and*
Sid J. Gautreaux, III, Sheriff,                     *         Judge:
        East Baton Rouge Parish                     *
Louisiana State Police Officer John Doe One,        *
Louisiana State Police Officer John Doe Two, and *
Louisiana State Police Officer John Doe Three       *
                                                    *
Defendants                                          *         Magistrate Judge:


                             COMPLAINT FOR DAMAGES
                          FOR DEPRIVATION OF CIVIL RIGHTS

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, Max Geller,

alleges as follows, upon information and belief:

                                        INTRODUCTION

                                                   1.

       Plaintiff, Max Geller, seek damages for defendants’ unlawful arrest, use of excessive

force and denial of medical care by the Baton Rouge Police Department (“BRPD”), the East

Baton Rouge Sheriff’s Office (“EBRSO”) and officers of the Louisiana State Police (“LSP”).

Defendants’ unconstitutional acts caused Max Geller to suffer head wounds, a concussion, arm

and rib injuries, and continuing emotional distress.       Defendants employed unconstitutional

tactics to disturb, disrupt, infringe upon and criminalize Mr. Geller’s constitutional rights to

freedom of speech and assembly. Plaintiff requests damages pursuant to 42 U.S.C. sections 1983

and 1985, for violations of his rights under the 1st, 5th, 4th, 8th and 14th Amendments to the United

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States Constitution.   See Photograph of Max Geller’s arrest and news article, Maya Lau,

Identical arrest reports for many Alton Sterling a red flag, legal experts say, The Advocate,

September 18, 2016, copy attached Exhibit 1.

                                            PARTIES

                                                 2.

       Plaintiff, Max Geller, is a resident of New Orleans, who was brutally tackled and beaten

by Louisiana State Police officers, on July 10, 2016, while peaceably protesting.

                                                 3.

       Defendant, the City of Baton Rouge is a municipality of the State of Louisiana, domiciled

in East Baton Rouge Parish, established pursuant to its Home Rule Charter and statutes, which

has the capacity to sue and be sued. On information and belief, police officers of the City of

Baton Rouge Police Department were at the intersection of East Boulevard and France Street and

nearby locations when Max Geller was arrested, detained, denied medical care and incarcerated,

and acted in concert with other defendants to deprive Mr. Geller of his civil rights.

                                                 4.

       Defendant, Carl Dabadie, Jr. is the Chief of Police of the City of Baton Rouge, who is

sued in his official capacity. Police Chief Dabadie is the highest-ranking officer of the Baton

Rouge Police Department. As Police Chief, he is a policy maker for the Police Department and

is responsible for directing, training and supervising all Police Department staff and officers. He

set policies for the BRPD, directed the deployment of officers during the Baton Rouge protests

and was aware of the continuing arrests and charging of protestors with violations of La. R.S.

14:97 and resisting arrest. Police Chief Dabadie in his official capacity, is vicariously liable for




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torts and civil rights violations committed by his officers in the course and scope of their

employment.

                                                 5.

       Defendant, Sid J. Gautreaux, III, is the elected Sheriff of East Baton Rouge Parish, who is

sued in his official capacity. As the Sheriff, he is responsible for directing, training and

supervising all Sheriff’s Office staff and officers. Sheriff Geautreaux is also responsible for

operating, directing, supervising and staffing the East Baton Rouge Parish Prison, where Mr.

Geller was incarcerated. Sheriff Gautreaux is the policymaker for the East Baton Rouge Parish

Sheriff’s Office. Sheriff Gautreaux directed the deployment of officers during the Baton Rouge

protests and was aware of the continuing arrests. Sheriff Gautreaux, in his official capacity, is

vicariously liable for torts and civil rights violations committed by his officers and the prison

staff in the course and scope of their employment.

                                                 6.

       East Baton Rouge Parish Sheriff’s officers responded to the protests and participated in

the arrest, detention, transportation, denial of medical care and imprisonment of Max Geller. On

information and belief, officers and employees of the East Baton Rouge Parish Sheriff’s Office

were at the intersection of East Boulevard and France Street and nearby locations, and at the East

Baton Rouge Parish Prison when Max Geller was arrested, detained, denied medical care and

incarcerated, and acted in concert with other defendants to deprive Mr. Geller of his civil rights.

                                                 7.

       A number of Louisiana State Police officers, whose identities are presently unknown,

tackled and assaulted Max Geller as shown in Exhibit 1. The Louisiana State Police, which is a

department within the Louisiana Department of Public Safety. Those Louisiana State Police



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officers are hereby made defendants in this lawsuit individually, as LSP Officer John Doe One,

LSP Officer John Doe Two, and LSB Officer John Doe Three. Plaintiff reserves the right to

amend this Complaint, when the LSP officers who assaulted Mr. Geller are identified.

                                               8.

       Defendant, Louisiana State Police Officer John Doe One, who is sued individually, used

excessive and unwarranted force in tackling, assaulting, restraining and battering Max Geller on

July 10, 2016.

                                               9.

       Defendant, Louisiana State Police Officer John Doe Two, who is sued individually, used

excessive and unwarranted force in tackling, assaulting, restraining and battering Max Geller on

July 10, 2016.

                                              10.

       Defendant, Louisiana State Police Officer John Doe Three, who is sued individually,

used excessive and unwarranted force in tackling, assaulting, restraining and battering Max

Geller on July 10, 2016.

                               JURISDICTION AND VENUE
                                              11.

       This Court has jurisdiction of this matter pursuant to 28 U.S.C. section 1331, 28 U.S.C.

section 1343 and 28 U.S.C. section 1367 (supplemental jurisdiction), as plaintiff seeks redress

and protection of his Constitutional rights under 42 U.S.C. sections 1983, 1985 and 1988, and

under Louisiana tort law.




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                                                12.

        Venue is appropriate in this judicial district, pursuant to 28 U.S.C. section 1391, because

the defendants reside in this district and the events or omission giving rise to Mr. Geller’s claims

occurred in this district.

                                   STATEMENT OF FACTS

                                                13.

        On Tuesday, July 5, 2016, Mr. Alton Sterling was shot and killed by Baton Rouge Police

Department officers, leading to Max Geller protesting the Baton Rouge Police Department’s

conduct and seeking justice and demanding an independent investigation of Mr. Sterling’s death

and changes to the Baton Rouge Police Department’s policies, procedures and practices.

                                                14.

        The protests continued Friday, July 8, Saturday, July 9 and Sunday, July 10, 2016.

Throughout the protests, the Defendants responded in a militarized and aggressive manner.

Police officers dressed in military gear, with gas masks, shin guards, face shields, brandishing

assault weapons alongside heavy military vehicles advanced against protestors. Baton Rouge

Police Department, Louisiana State Police and East Baton Rouge Parish Sheriff’s Officers

threatened non-violent protestors by pointing their weapons directly at them.

                                                15.

        On July 10, 2016, Max Geller and others drove from New Orleans to Baton Rouge to

participate in a march protesting the death of Alton Sterling.

                                                16.

        Max Geller attended speeches near the State Capitol building and then walked with other

protestors along the designated route for the march.



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                                                    17.

          Max Geller and other protesters walked to the intersection of East Boulevard and France

Street, arriving at that location about 6:00 p.m.

                                                    18.

          At that time, no vehicles were travelling on the streets at that location, other than police

vehicles.

                                                    19.

          Max Geller was part of a large crowd of peaceful protestors at that location.

                                                    20.

          Max Geller complied with directives from police officers and moved to the edge of the

street.

                                                    21.

             Max Geller and other protestors locked arms and stood in a line peacefully.

                                                    22.

          Police officers in riot gear approached Max Geller and yelled aggressively at him. Mr.

Gellar was trying to video record the protests with his cell phone at that moment.

                                                    23.

          At about 6:30 p.m., multiple police officers, including but not limited to, Louisiana State

Police Officer John Doe One, Louisiana State Police Officer John Doe Two and Louisiana State

Police Officer John Doe Three charged the line of protestors and tackled Max Geller. The

officers threw Max Geller to the ground, slammed his head into the ground, held him down and

kicked Mr. Geller.




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                                                    24.

       LSP Officers who were on top of Max Geller holding him down, shouted “stop resisting”.

Mr. Geller replied “I’m not resisting. I’m just really scared.”

                                                    25.

       Defendants arrested Max Geller and other protestors after Defendants had closed the

public highway, such that there was no through traffic to obstruct, and therefore there could be

no practical violation of La. R.S. 14:97.

                                                    26.

       Mr. Geller lost consciousness, suffered multiple, bleeding cuts and abrasions to his face

and head, injuries to his ribs and injuries to his arms and shoulders.

                                                    27.

       Police officers, then, hand-cuffed Mr. Geller with wire ties, lifted by his arms and

dragged him away from the intersection of East Boulevard and France Street. At that time, Mr.

Geller was bleeding from his head injuries and was not responsive to his friends calling to him.

                                                    28.

       As the police officers were dragging Mr. Geller near a SWAT vehicle, he was struck in

the head by a rifle butt or another blunt object.

                                                    29.

       Defendants used excessive force in attacking, battering, beating, dragging and assaulting

Max Geller without provocation or the need for defense.




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                                                30.

        Despite Mr. Geller’s friends telling the police officers that were holding Mr. Geller that

Max Geller was bleeding from his head and was not responding, the police officers did not have

any of the nearby medical personnel exam or provide care to Mr. Geller.

                                                31.

        The LSP Officers who initially held Mr. Geller transferred him to other police officers

who dragged him about another block to an area where several protestors were being held.

                                                32.

        Mr. Geller was ordered by police officers to sit on the ground, while still bleeding and

disoriented. Despite his friends, again, telling that Mr. Geller was injured, the police officers did

not ask any of nearby the medical personnel to examine or treat Mr. Geller for more than an

hour.

                                                33.

        Max Geller was first seen by an East Baton Rouge EMS person at about 8:00 p.m., when

an ambulance arrived at the area where Mr. Geller was being detained. The EMS person would

not give Mr. Geller advice on whether he should go to a hospital or whether he might have a

concussion.

                                                34.

        Mr. Geller was transported to by ambulance to Lady of the Lake Hospital Emergency

with a police car following the ambulance.

                                                35.

        Two police officers were present throughout Mr. Geller’s intake at the hospital, including

being in the room when Mr. Geller was interviewed and examined by the Emergency Room



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doctors and staff. While Mr. Geller was telling the doctors about the assault and his injuries, the

police officers kept interrupting and telling doctors that the events recounted by Mr. Geller had

not happened.

                                               36.

        Mr. Geller was handcuffed during the entire time at the hospital, including during a CT

scan.

                                               37.

        Mr. Geller was treated for multiple injuries and received stiches for his head wounds at

the hospital.

                                               38.

        Mr. Geller was not informed at the hospital that he had been diagnosed with a

concussion, because the doctors only communicated to the police officers and did not

communicate with Mr. Geller.

                                               39.

        Police officers transported Mr. Geller from the hospital to the East Baton Rouge Parish

Prison, where he was incarcerated.

                                               40.

        Mr. Geller was never advised of his Miranda rights. He was not informed of the charges

against him until he was released.

                                               41.

        Defendants’ failure to advise Mr. Geller of his Miranda rights is confirmed by the Baton

Rouge Police Department’s Arrest Record for Mr. Geller on which the boxes for “Miranda

Warning Given – Orally – Waiver #__________” are not completed. Exhibit 2.



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                                                  42.

       The Baton Rouge Police Department’s Arrest Record does not mention Mr. Geller’s

injuries, his transportation to and from Lady of the Lake Hospital, or his treatment at the

Emergency Room. The Arrest Report Narrative erroneously states,

          “On July 10, 2016 at 500 East Blvd, the reporting officer was assigned to
          the prisoner processing area for the protest events in Baton Rouge, LA. The
          Mobile Field Force officers brought the listed arrestee to the processing
          table and turned the individual over to the processing team. Officer
          completed the necessary paperwork and the arrestee was booked into EBR
          Parish prison for the listed charge(s).” Exhibit 2.

                                           43.

       The Affidavit of Probable Cause regarding Max Geller’s arrest (Exhibit 3) is identical to

the Affidavits of Probable Cause for many other protestors (Exhibit 4, in globo), except that

“9000 Airline Highway” was crossed out and “500 East Blvd” was written in by hand. The

Affidavit of Probable Cause also states that Mr. Geller was verbally advised of his Miranda

rights, which is contrary to his Arrest Record.

                                                  44.


       Defendants’ use of a preprinted Affidavit of Probable Cause (Exhibit 3), that lacks any

details of Mr. Geller’s activities, location and arrest is evidence of Defendants’ intent and

conspiracy to deprive Mr. Geller of his civil rights, by knowingly signing and submitting a false

Affidavit of Probable Cause to the 19th Judicial District Court.

                                                  45.

       Mr. Geller was strip searched and moved into a cell in the General Population area of the

East Baton Rouge Parish Prison, despite his obvious injuries.




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                                                46.

       At three different times, Mr. Geller asked to see a doctor because the overhead light in

the cell was making him more nauseous, which requests were denied. Mr. Geller did not see a

nurse until about Noon on July 11, 2016.

                                                47.

       Mr. Geller was released from the East Baton Rouge Parish Prison on July 11, 2016 at

approximately 4:00 p.m., after a friend posted bond.

                                                48.

       Mr. Geller has suffered and continues to suffer nightmares, recurring anxiety and severe

emotional distress as a result of being arrested, assaulted and battered by defendants.

                                                49.

       Mr. Geller has obtained medical treatment, physical therapy and counselling for his head

injuries, rib injuries and other injuries. He continues to be under the care of physicians and a

psychologist.

                                                50.

       Defendants’ conduct has resulted in scar tissue forming around Mr. Geller’s elbow

tendons, which has been diagnosed as “lateral epicondylitis,” which may require future medical

treatment.

                                                51.

       Mr. Geller has lost work time and has lost income due to defendants’ conduct and the

resulting physical injuries and emotional trauma.




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                                                52.

          Mr. Geller’s reputation and potential future income have been harmed by his false arrest

and being charged with resisting arrest and obstructing a highway, which are on his criminal

record.

                                      CAUSES OF ACTION
                                            COUNT 1:

                         Deprivation of Civil Rights Under Color of Law

                                                53.

          Defendants, individually and through their employees, agents and others under their

direction and control, acting under color of law, deprived Mr. Geller of his Constitutionally-

protected rights, in violation of 42 U.S.C. section 1983.

                                                54.

          Defendants, individually, collectively and through their employees, officers and agents,

promulgated, adopted and implemented policies, practices and procedures, which have resulted

in the deprivation of the civil rights of Max Geller under color of law and in violation of federal

and state law.

                                                55.

          Defendants, individually, collectively and through their employees, officers and agents,

acted intentionally and with deliberate indifference to the violation of the civil rights of Max

Geller.

                                                56.

          Defendants’ actions and omissions were objectively unreasonable, such that defendants

are not entitled to qualified immunity or statutory immunity.



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                                                 57.

       Defendants, individually, collectively and through their employees, officers and agents

arrested and charged Max Geller pursuant to ordinances and statutes that are unconstitutionally

vague, are unconstitutional as applied and prohibit conduct that is protected by the United States

Constitution, including, but not limited to, La. R.S. 14:97.

                                                 58.

       Defendants, knew or should have known that their actions and omissions would result in

the deprivation of the civil rights of Mr. Geller.

                                                 59.

       Defendants deprived Mr. Geller of his civil rights and selectively interpreted and

enforced the laws, based upon the facts that Mr. Geller was protesting Defendants’ conduct and

were seeking changes to Defendants’ policies, practices and procedures.

                                                 60.

       Defendants acted pursuant to policies, practices or customs to abuse their law

enforcement authority to disturb and disrupt targeted civil political assemblies and mass protests.

                                                 61.

       Defendants’ policy makers approved and authorized Defendants’ tactics, policies,

practices and customs, as evidenced by their public statements during and after the July 6

through 11, 2016 mass arrests.

                                                 62.

       Defendants knew or should have known that their conduct was in violation of plaintiff’s

constitutional rights and acted with deliberate indifference, conscious disregard, gross disregard

or reckless disregard for Mr. Geller’s rights.



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                                                  63.

       Defendants individually, or through their officers, employees, agents and others under

their direction and control, knowingly signed and submitted a false Affidavit of Probable Cause

regarding Mr. Geller’s arrest to the 19th Judicial District Court.

                                                  64.

       The individually named Defendants, the supervisors that reported to them and all officers

in the chain of command had the duty to intervene or prevent unlawful or unconstitutional

conduct, negligence, and harm to the citizens they are sworn to serve and protect. Despite that

duty, Defendants, individually and through their employees, agents and others under their

direction and control, failed to intervene to protect the civil rights of Mr. Geller.

                                             COUNT 2:

                             Conspiracy to Deprive Plaintiff of Civil Rights

                                                  65.

       Defendants, individually and through their employees, agents and others under their

direction and control, acting under color of law, conspired to deprive Mr. Geller of

Constitutionally-protected rights, in violation of 42 U.S.C. section 1985.

                                             COUNT 3:

                                 Arrest Without Probable Cause

                                                  66.

       Defendants, individually and through their employees, agents and others under their

direction and control, arrested Mr. Geller without probable cause.




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                                               67.

       There was no probable cause to arrest Mr. Geller for obstruction of a highway of

commerce, because the streets had been closed by the police officers before this arrest. He could

not have rendered movement on a road more difficult, at the time of his arrest, which is a

required element for violation of La. R.S. 14:97.

                                               68.

       There was no probable cause to arrest Mr. Geller for resisting arrest. Mr. Geller did not

flee and did not resist when LSP Officers John Doe One, Two and Three charged, brutally

tackled and dragged him, as illustrated by Exhibit 1.

                                               69.

       The Affidavit of Probable Cause submitted to the 19th Judicial District Court regarding

Mr. Geller’s arrest was a preprinted form affidavit that did not correctly describe Mr. Geller’s

conduct, his location, the actions of the law enforcement officers that arrested him, or his

transportation of Lady of the Lake Hospital before he was incarcerated at the East Baton Rouge

Parish Prison. The Affidavit of Probable Cause also does not indicate that Mr. Geller was

assaulted and taken into custody by LSP Officer John Doe One, LSP Officer John Doe Two, and

LSB Officer John Doe Three.

                                           COUNT 4:

                             Violation of First Amendment Rights

                                               70.

       Defendants, individually and through their employees, agents and others under their

direction and control, violated Mr. Geller’s First Amendment Rights of speech, assembly and

free association.



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                                          COUNT 5:

               Retaliation Against Exercise of Freedom of Speech and Assembly

                                               71.

        Defendants, individually and through their employees, agents and others under their

direction and control, retaliated against Max Geller, who was exercising his rights of freedom of

speech and assembly to state his grievances and obtain changes to Defendants’ policies and

practices regarding the use of excessive force, shootings, arrests and Defendants’ violations of

citizens’ rights.

                                          COUNT 6:
                                    Denial of Medical Care
                                               72.
        Defendants, individually and through their employees, agents and others under their

direction and control, denied and delayed necessary medical care to Max Geller, while he was in

custody. The Defendants caused the head wounds, concussion and other injuries, for which he

required medical care, when Defendants brutally tackled Mr. Geller, forced him to the ground,

kicked him, hand-cuffed him and dragged him.

                                          COUNT 7:

                             Louisiana Law False Imprisonment

                                               73.

        Defendants, individually and through their employees, agents and others under their

direction and control, falsely imprisoned Max Geller.




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                                           COUNT 8:

                             Louisiana Law Malicious Prosecution

                                               74.

          Defendants, individually and through their employees, agents and others under their

direction and control, maliciously prosecuted Max Geller, without probable cause.

                                           COUNT 9:
                              Louisiana Law Assault and Battery

                                               75.

          Defendants, individually and through their employees, agents and others under their

direction and control, including but not limited to LSP Officer John Doe One, LSP Officer John

Doe Two, and LSB Officer John Doe Three, committed acts of assault and battery upon Max

Geller.

                                          COUNT 10:

                   Louisiana Law Intentional Infliction of Emotional Distress

                                               76.

          Defendants, individually and through their employees, agents and others under their

direction and control, intentionally inflicted severe emotional distress upon Mr. Geller, during

his arrest, transportation and imprisonment.

                                          COUNT 11:

                    Louisiana Law Negligent Infliction of Emotional Distress

                                               77.

          In the alternative, Defendants, individually and through their employees, agents and

others under their direction and control, negligently inflicted severe emotional distress upon Max

Geller during his arrest, transportation, and imprisonment.

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                                             COUNT 12:

                                     Louisiana Law Negligence

                                                  78.

          Defendants, individually and through their employees, agents and others under their

direction and control, were negligent in their conduct during Max Geller’s arrest, transportation

and imprisonment, and are liable to plaintiff for damages pursuant to Louisiana Civil Code

article 2315.

                                             COUNT 13:

                                         Vicarious Liability

                                                  79.

          Defendants are liable to Mr. Geller for the negligent acts and omissions of their

employees, agents and others under their direction and control pursuant to Louisiana Civil Code

article 2320 and the doctrine of respondeat superior.

                                                  80.

          The individually named Defendants and the supervisors that reported to them, breached

their duties to supervise, intervene and prevent the deprivation of Mr. Geller’s constitutional

rights.

                                             COUNT 14:

                                   Failure to Train and Supervise

                                                  81.

          Defendants are liable to plaintiff for their negligent failure to train and supervise their

employees, officers, agents and others under their direction and control.




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                        EQUITABLE AND DECLARTORY RELIEF

                                               82.

    Max Geller is entitled to and prays for equitable and declaratory relief, including but not

limited to:

    A. Entry of an Order expunging or nullifying his arrest;

    B. Entry of an Order prohibiting Defendants from reporting Mr. Geller’s arrest to other law

        enforcement agencies or law enforcement databases;

    C. Entry of an Order requiring Defendants to notify other law enforcement agencies and law

        enforcement databases that Mr. Geller’s arrest was expunged or nullified;

    D. Entry of an order prohibiting Defendants from reporting Mr. Geller’s arrest to current or

        prospective employers or credit reporting agencies;

    E. Entry of an Order directing Defendants to return all bonds or bail paid to Defendants by

        Mr. Geller or by paid by others on his behalf; and

    F. Such other declaratory or equitable relief as may be just in the circumstances.

                                           DAMAGES

                                               83.

        As a direct and proximate result of the joint acts or omissions of Defendants and their

officers, employees, and agents identified in this Complaint, Max Geller has suffered monetary

and non-monetary harm including deprivation of Constitutional rights, personal injuries and loss

of liberty.

                                               84.

        As a result of Defendants’ conduct, Max Geller has suffered and is entitled to

compensation for:



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       1. Pain and suffering, past, present and future

       2. Emotional distress, past, present and future

       3. Medical expenses, past, present and future

       4. Lost wages, past, present and future;

       5. Harm to his reputation;

       6. Deprivation of his civil rights; and

       7. Such other damages as may be proven at trial.

                                                 85.

       Plaintiff is entitled to an award of reasonable attorneys’ fees and court costs, pursuant to

42 U.S.C. section 1988.



       WHEREFORE, Plaintiff, Max Geller, prays judgment against Defendants and for an

award of compensatory damages, costs and attorneys’ fees, in amounts to be proven at trial, and

declaratory and injunctive relief.



                                             Respectfully submitted,



                                             __/s/ John K. Etter_________________
                                             Roy J. Rodney, Jr. (La. Bar No. 2079)
                                             John K. Etter (La. Bar No. 25042)
                                             Rodney & Etter, LLC
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